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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 STATE OF CALIFORNIA; STATE OF
 NEVADA; COMMONWEALTH OF
 MASSACHUSETTS; STATE OF ARIZONA;
 STATE OF COLORADO; STATE OF
 CONNECTICUT; STATE OF DELAWARE;
 STATE OF HAWAII; STATE OF ILLINOIS;
 STATE OF MAINE; STATE OF
 MARYLAND; PEOPLE OF THE STATE OF
 MICHIGAN; STATE OF MINNESOTA;
 STATE OF NEW JERSEY; STATE OF NEW
 MEXICO; STATE OF NEW YORK; STATE
 OF RHODE ISLAND; STATE OF
 VERMONT; STATE OF WISCONSIN,

                               Plaintiffs,

 v.
                                                   No. 1:25-cv-10810-DJC
 DONALD J. TRUMP, in his official capacity
 as President of the United States; PAMELA
 BONDI, in her official capacity as Attorney
 General of the United States; UNITED
 STATES ELECTION ASSISTANCE
 COMMISSION; DONALD L. PALMER, in
 his official capacity as Chairman of the U.S.
 Election Assistance Commission; THOMAS
 HICKS, in his official capacity as Vice Chair
 of the U.S. Election Assistance Commission;
 CHRISTY McCORMICK and BENJAMIN W.
 HOVLAND, in their official capacities as
 Commissioners of the U.S. Election Assistance
 Commission; PETE HEGSETH, in his official
 capacity as Secretary of Defense,

                               Defendants.



                     MOTION FOR A PRELIMINARY INJUNCTION

       Plaintiffs California, Nevada, Massachusetts, Arizona, Colorado, Connecticut, Delaware,

Hawaii, Illinois, Maine, Maryland, Michigan, Minnesota, New Jersey, New Mexico, New York,

Rhode Island, Vermont, and Wisconsin (Plaintiff States), hereby respectfully move, pursuant to
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Federal Rule of Civil Procedure 65 and Local Rule 7.1, for a preliminary injunction to restrain and

enjoin Defendants Pamela Bondi, in her official capacity as Attorney General of the United

States, the United States Election Assistance Commission, Donald L. Palmer, in his official

capacity as Chairman of the U.S. Election Assistance Commission, Thomas Hicks, in his official

capacity as Vice Chair of the U.S. Election Assistance Commission, Christy McCormick and

Benjamin W. Hovland, in their official capacities as Commissioners of the U.S. Election

Assistance Commission, and Pete Hegseth, in his official capacity as Secretary of Defense

(Defendants), their officers, agents, servants, and employees from implementing or enforcing

Sections 2(a), 2(d), 3(d), 7(a), and 7(b) of Executive Order No. 14248, entitled “Preserving and

Protecting the Integrity of American Elections” (EO), pending trial of this action.

       As described in Plaintiff States’ accompanying memorandum in support of this motion,

preliminary injunctive relief is warranted because the EO constitutes an unprecedented attempt

by the President to usurp power over federal elections that rightfully belongs to (and has been

exercised by) the States and Congress. First, Plaintiff States are likely to succeed on the merits

of their claims. Specifically, they are likely to prevail in showing that:

   •   Section 2(a) of the EO is ultra vires, a violation of the constitutional separation of

       powers, and is contrary to the National Voter Registration Act;

   •   Section 3(d) of the EO is ultra vires, a violation of the constitutional separation of

       powers, and is contrary to the Uniformed and Overseas Citizens Absentee Voting Act;

   •   Sections 2(a), 2(d), and 3(d) of the EO unconstitutionally commandeer States’ resources;

   •   Section 7(a) of the EO is ultra vires and violates the constitutional separation of powers;

   •   Section 7(b) of the EO is ultra vires, violates the constitutional separation of powers, and

       unconstitutionally imposes extra-statutory conditions on congressionally appropriated



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       funding; and

   •   Sections 7(a) and 7(b) unlawfully invade States’ constitutional powers and sovereignty.

       Second, Plaintiff States have demonstrated that, absent a preliminary injunction, they will

suffer immediate and irreparable harm by being forced to divert their limited resources to

implementing an unlawful EO, damaging their ability to effectively administer elections. Third,

the balance of equities and public interest weigh in favor of a preliminary injunction to

temporarily halt the EO’s unlawful attempt to fundamentally restructure how federal elections

are administered. This Motion is supported by an accompanying memorandum of law, by

declarations, which are submitted as attachments, and any oral argument.

       No monetary security is required under Federal Rule of Civil Procedure 65(c) because

Defendants will not suffer any harm as a result of a preliminary injunction here. International

Ass’n of Machinists and Aerospace Workers v. Eastern Airlines, Inc., 925 F.2d 6, 9 (1st Cir.

1991) (“[T]here is ample authority for the proposition that the provisions of Rule 65(c) are not

mandatory and that a district court retains substantial discretion to dictate the terms of an

injunction bond.” (collecting cases)).

                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Plaintiff States believe that oral argument would assist the

Court because this case concerns complicated and important issues affecting the public interest.

Thus, Plaintiff States wish to be heard on their preliminary injunction motion.

       WHEREFORE, Plaintiff States pray that the Court preliminarily enjoin:

       (1) Defendants U.S. Election Assistance Commission, Chairman Donald L. Palmer, Vice

Chair Thomas Hicks, and Commissioners Christy McCormick and Benjamin W. Hovland (EAC

Defendants) from implementing Section 2(a) of the EO or otherwise taking any steps to require




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documentary proof of citizenship as part of the federal mail-in voter registration form provided

for in 52 U.S.C. § 20508;

       (2) Defendant Secretary of Defense Pete Hegseth from implementing Section 3(d) of the

EO or otherwise altering the federal post card form provided for in 52 U.S.C. § 20301(b)(2) to

require either documentary proof of citizenship or proof of eligibility to vote in a particular State;

       (3) Defendant Attorney General Pamela Bondi and EAC Defendants from implementing

Section 2(d) of the EO as to state and local agencies in Plaintiff States or otherwise taking any

action to require state and local voter registration agencies designated under the National Voter

Registration Act and located in Plaintiff States from assessing citizenship prior to providing a

federal voter registration form;

       (4) Defendant Attorney General Pamela Bondi from implementing Section 7(a) of the EO

as to Plaintiffs California, Nevada, Massachusetts, Arizona, Colorado, Hawaii, Illinois,

Maryland, Michigan, New Jersey, New Mexico, New York, and Rhode Island, or otherwise

taking any actions to enforce a ballot receipt deadline of Election Day against those States; and

       (5) EAC Defendants from implementing Section 7(b) of the EO as to Plaintiffs California,

Nevada, Massachusetts, Arizona, Colorado, Hawaii, Illinois, Maryland, Michigan, New Jersey,

New Mexico, New York, and Rhode Island, or otherwise conditioning formula grant funding,

including election security grants, to Plaintiffs California, Nevada, Massachusetts, Arizona,

Colorado, Hawaii, Illinois, Maryland, Michigan, New Jersey, New Mexico, New York, and Rhode

Island on their adoption of a ballot receipt deadline of Election Day.




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May 5, 2025                          Respectfully submitted.

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                                     7.1 CERTIFICATION

        I, Anne P. Bellows, hereby certify that counsel for Plaintiff States conferred with counsel
for Defendants via virtual conference on April 23, 2025. I was unable to resolve or narrow the
issues for review.

Dated: May 5, 2025                                   /s/ Anne P. Bellows
                                                     Anne P. Bellows
                                                     Deputy Attorney General
                                                     Counsel for the State of California




                                CERTIFICATE OF SERVICE

        I, Anne P. Bellows, hereby certify that I served a true copy of the above document upon
all counsel of record via this Court’s electronic filing system.

Dated: May 5, 2025                                   /s/ Anne P. Bellows
                                                     Anne P. Bellows
                                                     Deputy Attorney General
                                                     Counsel for the State of California




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